     Case 3:21-cv-00881-X Document 5 Filed 07/22/21   Page 1 of 15 PageID 271



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                       §
In re:
                                       §
                                       §
HIGHLAND CAPITAL MANAGEMENT,
                                       §       Bankruptcy Case No. 19-34054
L.P.,
                                       §
                                       §
         Debtor.
                                       §
                                       §
HIGHLAND CAPITAL MANAGEMENT,           §
L.P.,                                  §
                                       §
         Plaintiff,                    §       Adversary Proceeding No. 21-03004
                                       §
v.                                     §
                                       §
HIGHLAND CAPITAL MANAGEMENT            §        Civil Action No. 3:21-cv-00881-X
FUND ADVISORS, L.P.,                   §
                                       §
         Defendant.                    §
                                       §

 DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION


                               Davor Rukavina, Esq.
                              Texas Bar No. 24030781
                               Julian P. Vasek, Esq.
                              Texas Bar No. 24070790
                       MUNSCH HARDT KOPF & HARR, P.C.
                           500 N. Akard Street, Ste. 3800
                             Dallas, Texas 75201-6659
                            Telephone: (214) 855-7500
                             Facsimile: (214) 855-7584
                          E-mail: drukavina@munsch.com

                       COUNSEL FOR HIGHLAND CAPITAL
                       MANAGEMENT FUND ADVISORS, L.P.




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page i
       Case 3:21-cv-00881-X Document 5 Filed 07/22/21                                         Page 2 of 15 PageID 272



                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii

I.        SUMMARY .........................................................................................................................1

II.       BACKGROUND .................................................................................................................1

III.      ARGUMENT ......................................................................................................................4

          A.         Judicial Economy Favors Immediate Withdrawal of the Entire Adversary
                     Proceeding Because of the Certainty of Dispositive Motion Practice Combined
                     with the Right to a Jury Trial ...................................................................................4

          B.         The Appearance of Bias Supports the Immediate Withdrawal of the Reference ....5

IV.       PRAYER ............................................................................................................................10




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page i
     Case 3:21-cv-00881-X Document 5 Filed 07/22/21                                             Page 3 of 15 PageID 273



                                                 TABLE OF AUTHORITIES

Cases

Cooley v. Foti, No. CIV.A. 86-3704, 1988 WL 10166, 1988 U.S. Dist. LEXIS 1131
(E.D. La. Feb. 5, 1988) ....................................................................................................................6

In re Mirant Corp. v. S. Co., 337 B.R. 107, 122 (N.D. Tex. 2006) .................................................5

Guffy v. Brown (In re Brown Med. Ctr., Inc.), No. BR 15-3229, 2016 WL 406959
(S.D. Tex. Feb. 3, 2016)...................................................................................................................5

Gulf States Long Term Acute Care of Covington, L.L.C., 455 B.R. 869, 877 (E.D. La. 2011) .......4

Statutes and Rules

28 U.S.C. § 157 ................................................................................................................................4




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page ii
   Case 3:21-cv-00881-X Document 5 Filed 07/22/21                           Page 4 of 15 PageID 274



TO THE HONORABLE BRANTLEY STARR, U.S. DISTRICT JUDGE:

       COMES NOW Highland Capital Management Fund Advisors, L.P. (the “Defendant”),

the defendant in the above-styled and numbered bankruptcy adversary proceeding (the

“Adversary Proceeding”) filed by Highland Capital Management, L.P. (the “Plaintiff”), and files

this its Limited Objection (the “Objection”) to the Report and Recommendation to District Court

Proposing That It: (A) Grant Defendant’s Motion to Withdraw the Reference At Such Time As

Bankruptcy Court Certifies That Action Is Trial Ready; and (B) Defer Pretrial Matters To

Bankruptcy Court (the “Report and Recommendation”), respectfully stating as follows:

                                             I.       SUMMARY

       1.         The Defendant objects to the Report and Recommendation to the extent that the

Bankruptcy Court recommends that it retain this Adversary Proceeding for pretrial matters and

until this Adversary Proceeding is certified as ready for trial. Because this Court will conduct

the jury trial, this Court should consider all pretrial matters as they will inevitably dictate to some

degree the jury trial. Moreover, because this Adversary Proceeding is not core, the Bankruptcy

Court cannot adjudicate any dispositive motion and it would be a waste of both courts’ resources

and the parties’ resources to go through any such practice. For these reasons, and also because

of the Bankruptcy Court’s apparent bias against the Defendant, this Court should immediately

withdraw the reference of this Adversary Proceeding.

                                          II.      BACKGROUND

       2.         On October 16, 2019, Highland Capital Management, L.P. (the “Debtor”),

founded by Mr. James Dondero, filed bankruptcy in Delaware.1                          The Debtor’s creditors,

including Acis Capital Management, L.P. (a debtor in a previous bankruptcy case before the

Bankruptcy Court involving Mr. Dondero), moved to transfer this bankruptcy case to the

       1
           R. 2382, the December 3, 2019 Transcript - Motion to Transfer, at 78:21-23 (R. 2459).


DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 1
    Case 3:21-cv-00881-X Document 5 Filed 07/22/21                          Page 5 of 15 PageID 275



Northern District of Texas seeking to have it assigned to the Bankruptcy Court. During the

hearing, the Debtor’s current lead bankruptcy counsel, Jeffrey Pomerantz, acknowledged that a

“fresh start” in the Delaware Bankruptcy Court was needed because the Bankruptcy Court in the

Northern District of Texas had pre-existing, negative views of Debtor’s management, including

Mr. Dondero as a result of the Acis bankruptcy.2 Nonetheless, on December 4, 2019, the

Delaware Bankruptcy Court transferred the case to the Northern District of Texas where it was

assigned to Judge Jernigan, who also presided over the Acis Bankruptcy.3 See Bankr. Dkt. No. 1.

        3.       The Defendant is a registered investment advisor that advises many third-party

investors with respect to their investments. Mr. Dondero manages and controls the Defendant

and, to a degree, owns interests in the Defendant.

        4.       On January 22, 2021, Debtor commenced the present Adversary Proceeding

against the Defendant, asserting a state law, non-core breach of contract claim on account of

alleged promissory notes owed by the Defendant to the Debtor in the approximate amount of

$7,687,653.07, and an entirely dependent turnover claim under 11 U.S.C. § 542(b) for the

amounts allegedly owed on the notes. The Defendant did not consent to the Bankruptcy Court

entering a final judgment in the Adversary Proceeding and the Defendant timely and property

demanded a trial by jury.

        5.       On March 18, 2021, the Defendant, Mr. Dondero, and others filed their Motion to

Recuse Bankruptcy Judge Jernigan, together with a supporting 37-page Brief and supplemental

materials (consisting of 2,722 pages) [Bankr. Dkt. Nos. 2060-2062] seeking to recuse Judge


        2
            Id. at 77:18-22 (R. 2485). “[T]he committee and Acis are really being disingenuous, and they have not
told you the real reason that they want the case before Judge Jernigan. . . .It is because she formed negative views
regarding certain members of the debtor’s management that the committee and Acis hope will carry over to this
case.” Id. at 78:3-8 (R. 2459).
        3
          Id. at 90:15-24 (emphasis added) (R. 2471). In fact, Mr. Pomerantz specifically referred to the Bankruptcy
Court’s opinions of Mr. Dondero as “baggage.” Id. at 79:14-20 (emphasis added) (R. 2460).


DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 2
   Case 3:21-cv-00881-X Document 5 Filed 07/22/21               Page 6 of 15 PageID 276



Jernigan in all adversary proceedings filed by the Debtor against the movants, including the

Defendant. Five days later, without holding a hearing, the Bankruptcy Court entered the Order

Denying Motion to Recuse Pursuant to 28 U.S.C. § 455 [Bankr. Dkt. No. 2083].

       6.     The Defendant, Mr. Dondero, and others subsequently appealed to this Court the

Bankruptcy Court’s denial of their recusal motion. See Case 3:21-cv-00879-K at Dkt. No. 16.

The appeal remains pending.

       7.     On April 13, 2021, the Defendant filed its motion to withdraw the reference of

this Adversary Proceeding, based on this Adversary Proceeding being non-core and based on the

Defendant’s jury rights.   The Debtor subsequently objected, arguing, remarkably, that the

turnover action in Count II was core and that this action predominated; i.e. that the Bankruptcy

Court could liquidate disputed promissory note claims through a turnover action.

       8.     After a contested hearing, the Bankruptcy Court entered its Report and

Recommendation on July 8, 2021, agreeing: (i) that this Adversary Proceeding is non-core; (ii)

that the Defendant has valid jury rights which it has not waived; and (iii) therefore, that the

Bankruptcy Court cannot enter a judgment in this Adversary Proceeding, thus necessitating a

withdrawal of the reference. However, the Bankruptcy Court recommended that it retain the

Adversary Proceeding, including for all pretrial matters, under this Adversary Proceeding is

certified as trial ready. As reported and recommended by the Bankruptcy Court:

       In light of: (a) the noncore, related-to claims in the Complaint; (b) the lack of a
       proof of claim or any other claim related to the Notes asserted by HCMFA-
       Defendant; and (c) the lack of any other consent by HCMFA-Defendant to the
       equitable jurisdiction of the bankruptcy court related to the Notes, the bankruptcy
       court recommends the District Court: refer all pre-trial matters to the bankruptcy
       court, and grant the Motion upon certification by the bankruptcy court that the
       parties are trial-ready.

       With regard to such pretrial matters, the bankruptcy court further recommends
       that, to the extent a dispositive motion is brought that the bankruptcy court



DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 3
     Case 3:21-cv-00881-X Document 5 Filed 07/22/21               Page 7 of 15 PageID 277



        determines should be granted and would finally dispose of claims in this
        Adversary Proceeding, the bankruptcy court should submit a report and
        recommendation to the District Court for the District Court to adopt or reject.

Report and Recommendation at p. 12.

                                      III.    ARGUMENT

A.      Judicial Economy Favors Immediate Withdrawal of the Entire Adversary
        Proceeding Because of the Certainty of Dispositive Motion Practice Combined with
        the Right to a Jury Trial

        9.      This Court should withdraw the reference of the Adversary Proceeding

immediately and in toto.

        10.     Here, the Bankruptcy Court lacks jurisdiction to rule on a dispositive motion such

as a motion to dismiss or a motion for summary judgment. Thus, any ruling by the Bankruptcy

Court on any such motion will result only in proposed findings and conclusions, reviewable de

novo in this Court. See 28 U.S.C. § 157(c)(1). Because this is a case in which it is likely that the

Debtor will initiate dispositive motion practice, considerations of efficiency weigh in favor of

withdrawing the reference early to enable the district court to hear the dispositive motion. In re

Gulf States Long Term Acute Care of Covington, L.L.C., 455 B.R. 869, 877 (E.D. La. 2011)

(“Given the need for a jury trial in this case, it would be inefficient to allow pretrial motion

practice to continue in the bankruptcy court, delaying the eventual referral of claims to this Court

for resolution at trial.”).

        11.     Numerous courts within the Fifth Circuit, including this Court, have held that

judicial economy favors immediate withdrawal of the reference where, as here, a bankruptcy

court cannot enter final orders or judgments on dispositive motions, and instead can only issue

proposed findings of fact and conclusions of law:

        Judicial economy will not be sacrificed by the withdrawal. Rather, adjudicating
        all of the claims, both core and non-core, in the district court eliminates the



DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 4
     Case 3:21-cv-00881-X Document 5 Filed 07/22/21              Page 8 of 15 PageID 278



        prospect of an appeal from the bankruptcy judge’s adjudications of core claims,
        and dispenses with the need for the district court to conduct a de novo review of
        proposed findings and conclusions of the bankruptcy judge after a trial in the
        bankruptcy court as to non-core claims. And, for the same reasons, withdrawal of
        the reference will foster the economical use of the resources of the litigants.

In re Mirant Corp. v. S. Co., 337 B.R. 107, 122 (N.D. Tex. 2006). Accord Guffy v. Brown (In re

Brown Med. Ctr., Inc.), No. BR 15-3229, 2016 WL 406959, at *4 (S.D. Tex. Feb. 3, 2016)

(overruling bankruptcy court’s report and recommendation to maintain the proceeding in the

bankruptcy court for pretrial matters and instead ordering immediate withdrawal of the

reference).

        12.    Withdrawing the reference now promotes judicial economy, as it will enable this

Court to have the familiarity necessary to make key trial determinations on the more complex

evidentiary and expert issues that arise in a jury trial.    Moreover, because the trial of this

Adversary Proceeding will be to a jury, this Court should not risk the Bankruptcy Court’s

determination of pretrial mattes, such as motions in limine, tying in any way this Court’s hands.

Simply put, while the Bankruptcy Court is certainly an expert on bankruptcy law and practice,

this Adversary Proceeding does not involve the bankruptcy laws, and the Bankruptcy Court is

certainly no expert on jury trials and jury practice. Or, if this Court will necessarily review de

novo all pretrial orders entered by the Bankruptcy Court as this Court prepares for trial, it would

be a gross waste of the Bankruptcy Court’s resources, this Court’s resources, and the parties’

resources to prepare, review, and contest any such orders.

B.      The Appearance of Bias Supports the Immediate Withdrawal of the Reference

        13.    Withdrawing the reference immediately will also ameliorate any appearance of

bias arising out of the Bankruptcy Court making pre-trial rulings, including a dispositive motion

concerning millions of dollars in disputed obligations involving a party who is appealing that




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 5
   Case 3:21-cv-00881-X Document 5 Filed 07/22/21                       Page 9 of 15 PageID 279



same Bankruptcy Court’s denial of a recusal motion. Cooley v. Foti, No. CIV.A. 86-3704, 1988

WL 10166, 1988 U.S. Dist. LEXIS 1131 at *5 (E.D. La. Feb. 5, 1988) (finding the magistrate

judge’s personal “bias constitutes extraordinary circumstances and justifies the withdrawal of the

[analogous] § 636[] references”). In Cooley, the District Court, in making its determination that

there was sufficient reasons to justify vacating a reference to a magistrate judge based on the

“possibility of bias or prejudice,” found that the “magistrate evidenced a degree of anger so

pervasive as to amount to personal bias, even though it had its origin in litigation before the

magistrate.” Id. at **5-6. The evidence of bias in that case included, among other things, sua

sponte actions by the magistrate requiring the requesting party to show cause why he should not

be sanctioned for filing answers and defenses that did not “fairly meet the substance of the

averments denied.” Id. at 3. The actions in this case similarly demonstrate, at a minimum, a

possibility of bias or prejudice.

        14.     For example, as detailed in the Appellate Brief filed in the recusal appeal,4 the

Defendant contends the Bankruptcy Court entered the Highland bankruptcy case with negative

opinions of Mr. Dondero and all entities affiliated or controlled by him, and that this

predisposition “manifested itself in actions that impaired Appellants’ legal rights; favored

Appellants’ opponents; and created, at a minimum, the clear perception that the Bankruptcy

Court was unwilling to act impartially where Mr. Dondero and the Affected Entities were

concerned.” Specifically, among other things, the record reflects that the Bankruptcy Court has:




        4
           Appellants’ Brief (filed by James Dondero, Highland Capital Management Fund Advisors LP, NexPoint
Advisors LP, NexPoint Real Estate Partners LLC, The Dugaboy Investment Trust, and The Get Good Trust) at p. 15
(citations omitted), Case No. 3:21-CV-00879-K, attached to the Aigen Declaration as Exhibit 4 [Appeal Dkt. No.
16].


DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 6
   Case 3:21-cv-00881-X Document 5 Filed 07/22/21                            Page 10 of 15 PageID 280



         (a)       repeatedly made negative statements about Mr. Dondero and questioned Mr.

                   Dondero’s credibility before he ever testified; 5

         (b)       summarily disregarded the testimony of any witness favorable to Mr. Dondero

                   and the Defendant as ‘under [Mr. Dondero’s] control’ and per se not credible;6

         (c)       repeatedly concluded, without evidence, that any entity the Bankruptcy Court

                   deemed associated with Mr. Dondero was essentially an agent and no more than a

                   pawn of Mr. Dondero;7

         (d)       declared that Mr. Dondero and his ‘controlled entities’ are vexations litigants

                   because: (i) they defended lawsuits and motions filed against them; and/or (ii)

                   have asserted valid legal positions (including to preserve their and the Affected

                   Entities’ legal rights on appeal);8




         5
           For example, on February 19, 2020, the Bankruptcy Court held a hearing on Debtor’s application to retain
a law firm to, among other things, appeal an order against Neutra Ltd. (“Neutra”) (a company owned by Mr.
Dondero). While former Bankruptcy Judge Russell Nelms (one of the Debtor's independent directors) determined
that engaging the firm to represent Neutra was in the Debtor’s best interest, the Bankruptcy Court concluded,
without evidence, that Debtor’s fully independent board was being unduly influenced by Mr. Dondero. At the same
hearing, the Bankruptcy Court indicated that it believed Mr. Dondero lacked credibility even though, at that point in
time, Mr. Dondero had not yet testified. See February 19, 2020 Transcript at 38:22-39:17; 62:6-17; 177:7-178:3;
174:22-175:1, a true and correct copy of which is attached to the Aigen Declaration as Exhibit 5.
         6
           See, e.g., February 22, 2021 Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland
Capital Management, L.P. (as Modified) and (II) Granting Related Relief [Bankr. Dkt. No. 1943] at p. 19 (“At the
Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and Funds that the Funds have
independent board members that run the Funds, but the Bankruptcy Court was not convinced of their independence
from Mr. Dondero merely because none of the so-called independent board members have ever testified before the
Bankruptcy Court and all have been engaged with the Highland complex for many years. Notably, the Court
questions Mr. Post’s credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in
October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request, and he is
currently employed by Mr. Dondero.”); see also January 8, 2021 Transcript, at 175:8-176:25, a true and correct copy
of which is attached to the Aigen Declaration as Exhibit 6. Mr. Post is not employed by Mr. Dondero. Rather, he
serves as an officer of various entities affiliated with Mr. Dondero, including the Defendant. This is further
evidence that the Bankruptcy Court simply disregards the corporate form for any entity affiliated with Mr. Dondero.
         7
             February 8, 2021 Transcript at 13:17-24; 20:18-20; 21:18-22:3, a true and correct copy of which is
attached to the Aigen Declaration as Exhibit 7.
         8
             February 8, 2021 Transcript at 46:20-25, attached to the Aigen Declaration as Exhibit 7.


DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 7
   Case 3:21-cv-00881-X Document 5 Filed 07/22/21                             Page 11 of 15 PageID 281



         (e)        issued a sua sponte order demanding that so-called ‘Dondero-Affiliated Entities’

                    disclose their ownership and control, including entities that have not appeared or

                    filed anything in the Highland Bankruptcy;9 and

         (f)        applied more favorable standards and rules to the Debtor than those it afforded to

                    Appellants, including the Defendant.10

         15.        The Defendant notes the following in particular. On February 17, 2021, the

Debtor filed yet another adversary proceeding against the Defendant and an affiliated company,

Adversary Proceeding No. 21-03010.11 The Debtor sought a permanent, mandatory injunction.

The Bankruptcy Court set the injunction for trial on six days’ notice. At the conclusion of the

trial, the Bankruptcy Court denied the mandatory injunction as moot.12 Notwithstanding such

denial and the resulting loss of jurisdiction, as there was no case or controversy, the Bankruptcy

Court nevertheless entered an order highly favorable to the Debtor, giving the Debtor all kinds of

findings that were not even requested or the subject of the trial, and changing the Defendant’s

legal and contractual rights.13 And, the Bankruptcy Court blamed the Defendant, not the Debtor,

for forcing an all-day trial on something that never was an emergency and never was a live case

or controversy, instead being obviously moot:


         9
            June 17, 2021 Order at p. 1 (“This Order is issued by the court sua sponte pursuant to Section 105 of the
Bankruptcy Code and the court's inherent ability to efficiently monitor its docket and evaluate the standing of parties
who ask for relief in the above-referenced case. More specifically, the Order is directed at clarifying the party-in-
interest status or standing of numerous parties who are regularly filing pleadings in the above-referenced 20-month-
old Chapter 11 bankruptcy case.”).
         10
            Appellants’ Brief (filed by James Dondero, Highland Capital Management Fund Advisors LP, NexPoint
Advisors LP, NexPoint Real Estate Partners LLC, The Dugaboy Investment Trust, and The Get Good Trust) at p. 15
(citations omitted), Case No. 3:21-CV-00879-K, attached to the Aigen Declaration as Exhibit 4 [Appeal Dkt. No.
16].
         11
              App. 88.
         12
              App. 110.
         13
              App. 106-110.


DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 8
  Case 3:21-cv-00881-X Document 5 Filed 07/22/21                 Page 12 of 15 PageID 282



      I don’t want you to think my calm demeanor means I am a happy camper. I am
      not. I am beyond annoyed. I mean, I can’t even begin to guesstimate how many
      wasted hours were spent on the drafting Option A, Option B. Wait. Let me pull up
      the exact words. Mr. Norris confirming, We withdrew Option B after the Debtor
      accepted it.

      I mentioned fee-shifting once before in a different context, and, of course, we
      haven’t even gotten to the motion for a show cause order declaring Mr. Dondero
      in contempt. I don’t know if the lawyers fully appreciate how this looks. Mr.
      Rukavina, you said that I have formed opinions that you don’t think are fair and
      made comments about vexatious litigation and whatnot. But while I continue, I
      promise you, to have an open mind, it is days like this that make me come out
      with statements that Mr. Dondero, repeating his own words, apparently, he’s
      going to burn the house down if he doesn't get his baby back.

      I mean, it seems so obviously transparent that he’s just driving the legal fees up.
      It’s as though he doesn’t want the creditors to get anything, is the way this looks.
      If he wants me to have a different impression, then he needs to start behaving
      differently. I mean, I can’t even imagine how many hundreds of thousands of
      dollars of legal fees were probably spent the past two weeks on Option A, Option
      B, and all the different sub-agreements and whatnot. And as recently as Friday
      afternoon, the K&L Gates lawyer saying we have a deal, and then, oh, wait,
      maybe not, maybe we do, maybe we don’t. And then Mr. Dondero acting like he
      had no clue what the K&L Gates lawyers were saying as far as we have a deal.
      And Mr. Norris distancing himself from having seen any of that, and I didn’t have
      power. You know, I’m sure he had a cell phone, like the rest of us, that gets
      emails. I’m making a supposition. I shouldn’t make that. But it just feels like
      sickening games.

      And again, if this keeps on, if this keeps on, one day, one day, there may be an
      enormous attorney fee-shifting order. And, of course, I would have to find bad
      faith, and I wouldn’t be surprised at all if I get there.

                                          *      *       *

      [Addressing Jim Dondero] I’m glad you’re on the line. I cannot overstate how
      very annoyed I am by hearing all these hours of testimony and to feel like none of
      it was necessary. None of it was necessary. Okay? There could have been a
      consensual deal.14

      16.        Instead of focusing on the all-day trial that was not needed and was forced by the

Debtor, and at which the Defendant prevailed, the Bankruptcy Court instead focused on



      14
           App. 118-120.


DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 9
  Case 3:21-cv-00881-X Document 5 Filed 07/22/21                Page 13 of 15 PageID 283



settlement negotiations and blamed Mr. Dondero, and therefore the Defendant, for not taking the

Debtor’s settlement proposal.

       17.     The Defendant’s primary defense in this Adversary Proceeding is that the

underlying promissory notes were created by mistake by the Debtor’s former CFO who was also

at that time the Defendant’s CFO, and who also signed the notes in his personal capacity and

who was not authorized by either party to do so. Namely, the Debtor, performing services for

the Defendant pursuant to contract, made a valuation mistake which, in turn, led to an SEC

investigation and to millions of dollars being paid out by the Defendant to its clients, since the

mistake was used by the Defendant to advise its clients. The Debtor compensated the Defendant

for this mistake; hence the reason for the flow of any funds from the Debtor to the Defendant.

The former CFO, not knowing these details, saw the flow of funds and assumed that this was a

loan, and then proceeded on his own, without authority, and without the Defendant’s or the

Debtor’s legal department being involved, to prepare and sign the notes, for some internal

accounting or record-keeping purposes.

       18.     Thus, the credibility of the witnesses is a key issue in this Adversary Proceeding.

The Defendant is reasonably, and deeply, concerned that the Bankruptcy Court will conclude a

priori that its witnesses are not credible, since the Defendant is controlled by Mr. Dondero, just

as the Bankruptcy Court has already concluded that previous witnesses for the Defendant

(otherwise highly reputable, honest, and sophisticated people, without a blemish on their names)

were not credible because they were the “stooges” or the “tentacles” of Mr. Dondero. The

Defendant does not propose to try the recusal matter through this Objection. However, all of

these legitimate concerns about potential bias are best resolved by this Court simply doing what

Congress intended: withdrawing the reference immediately and in toto.




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 10
  Case 3:21-cv-00881-X Document 5 Filed 07/22/21              Page 14 of 15 PageID 284



                                      IV.     PRAYER

       WHEREFORE, PREMISES CONSIDERED, and as originally requested by the

Defendant in its motion to withdraw the reference, the Defendant respectfully requests that the

Court enter an order immediately withdrawing the reference of the Adversary Proceeding for all

purposes.

       RESPECTFULLY SUBMITTED this 22d day of July, 2021.

                                            MUNSCH HARDT KOPF & HARR, P.C.

                                            By: /s/ Davor Rukavina
                                                 Davor Rukavina, Esq.
                                                 Texas Bar No. 24030781
                                                 Julian P. Vasek, Esq.
                                                 Texas Bar No. 24070790
                                                 3800 Ross Tower
                                                 500 N. Akard Street
                                                 Dallas, Texas 75201-6659
                                                 Telephone: (214) 855-7500
                                                 Facsimile: (214) 855-7584
                                                 E-mail: drukavina@munsch.com

                                            COUNSEL FOR HIGHLAND CAPITAL
                                            MANAGEMENT FUND ADVISORS, L.P.




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 11
  Case 3:21-cv-00881-X Document 5 Filed 07/22/21               Page 15 of 15 PageID 285



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this the 22d day of July, 2021, true and correct
copies of this document were served on the recipients listed below by the Court’s ECF system:

Jeffrey N Pomerantz
Pachulski Stang Ziehl & Jones LLP
10100 Santa Monica Blvd, 13th Floor
Los Angeles, CA 90067
Email: jpomerantz@pszjlaw.com

Zachery Z. Annable
Hayward PLLC
10501 N. Central Expressway
Suite 106
Dallas, TX 75231
Email: zannable@haywardfirm.com


                                                    /s/ Davor Rukavina
                                                    Davor Rukavina




DEFENDANT’S LIMITED OBJECTION TO REPORT AND RECOMMENDATION—Page 12
